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UNITED STATES DISTRICT COURT "9 SEALED
MIDDLE DISTRICT OF FLORIDA 2
ORLANDO DIVISION a
UNITED STATES OF AMERICA
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v. CASE NO. 6:24-cr- (93 ~@B0- >
JAMEL WILLIAMS 18 U.S.C. § 371
LEVAR BAKER 18 U.S.C. § 1344

18 U.S.C. § 1028A(a)(1)
INDICTMENT
The Grand Jury charges:
COUNT ONE
(Conspiracy)
A. Introduction

At all times material to this Indictment:

1. United States Postal Service “arrow” keys were proprietary, serialized
keys that granted access to various types of mail collection boxes and other
authorized mail depositories in a given geographic area.

2. No person outside of employees or representatives of the United States

Postal Service was authorized to possess an “arrow” key.
3. Navy Federal Credit Union was a financial institution with branches
located in the Middle District of Florida whose accounts were insured by the

National Credit Union Share Insurance Fund.
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B. The Conspiracy

4. Beginning on an unknown date, but no later than in or about March
2023, and continuing through in or about August 2023, in the Middle District of
Florida, and elsewhere, the defendants,

JAMEL WILLIAMS
and
LEVAR BAKER

did knowingly and willfully combine, conspire, confederate and agree with other
persons, both known and unknown to the Grand Jury, to commit offenses against
the United States, specifically:

a. to steal and possess a United States Postal Service “arrow” key with
intent to unlawfully and improperly use the key, in violation of 18 U.S.C. § 1704;

b. to steal and possess stolen mail matter that was in an authorized
depository for mail matter, in violation of 18 U.S.C. § 1708; and

c. to carry out a scheme to defraud a financial institution, in violation of
18 U.S.C. § 1344.

C. Manner and Means of the Conspiracy

5. The manner and means by which the conspirators sought to accomplish

the objects of the conspiracy included, among others:
a. It was part of the conspiracy that individuals known and unknown to

the Grand Jury, would and did steal and unlawfully possess a United States Postal

Service “arrow” key.
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b. It was part of the conspiracy that individuals known and unknown to
the Grand jury, would and did possess and use a stolen United States Postal Service
“arrow” key to open and unlawfully access United States Postal Service mail
receptacles and authorized depositories for mail matter.

c. It was further part of the conspiracy that individuals known and
unknown to the Grand Jury, would and did steal mail matter, including checks, from
United States Postal Service mail receptacles and authorized depositories for mail
matter.

d. It was further part of the conspiracy that the defendants, JAMEL
WILLIAMS and LEVAR BAKER, and others known and unknown to the Grand
Jury would and did wrongfully alter and deposit stolen checks into bank accounts for
their own benefit and the benefit of others.

e. It was further part of the conspiracy that the defendants, JAMEL
WILLIAMS and LEVAR BAKER, and others known and unknown to the Grand
Jury, would and did misrepresent, conceal, hide, and cause to be misrepresented,
concealed, and hidden, acts done in furtherance of the conspiracy and the purpose of
those acts.

D. Overt Acts
6. In furtherance of the conspiracy, and to effect the objects thereof, the
following overt acts, among others, were committed in the Middle District of

Florida:
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a. On or about March 16, 2024, the defendant, JAMEL WILLIAMS,
promoted the scheme to defraud and recruited others to participate in the scheme to
defraud through his communications with others on social media.

b. On or about April 11, 2024, the defendant, JAMEL WILLIAMS,
promoted the scheme to defraud and recruited others to participate in the scheme to
defraud through his communications with others on social medica.

c. On or about May 8, 2023, the defendant, LEVAR BAKER, possessed
and cashed stolen and altered checks at Navy Federal Credit Union branches located
in Orlando, Florida, in the Middle District of Florida.

d. On or about May 10, 2023, the defendant, JAMEL WILLIAMS,
possessed and cashed stolen and altered checks at Navy Federal Credit Union
branches located in Winter Park, Florida, in the Middle District of Florida.

e. On or about May 12, 2023, the defendant, JAMEL WILLIAMS,
possessed and cashed stolen and altered checks at Navy Federal Credit Union
branches located in Winter Park, Florida, in the Middle District of Florida.

f. On or about June 17, 2023, individuals known and unknown to the
Grand Jury stole mail from the United States Postal Service mail receptacles and
authorized depositories for mail matter at a business park located in Sanford, in the

Middle District of Florida.
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g. On or about June 27, 2023, the defendant, JAMEL WILLIAMS,
possessed and cashed stolen and altered checks at Navy Federal Credit Union
branches located in Winter Park, Florida, in the Middle District of Florida.

h. On or about June 27, 2023, the defendant, LEVAR BAKER, possessed
and cashed stolen and altered checks at Navy Federal Credit Union branches located
in Winter Park, Florida, in the Middle District of Florida.

i. On or about July 27, 2023, the defendant, JAMEL WILLIAMS,
possessed and cashed stolen and altered checks at Navy Federal Credit Union
branches located in Winter Park, Florida, in the Middle District of Florida.

j. On or about August 1, 2023, the defendant, LEVAR BAKER,
possessed and cashed stolen and altered checks at Navy Federal Credit Union
branches located in Riverview, Florida, in the Middle District of Florida.

All in violation of 18 U.S.C. § 371.

COUNTS TWO THROUGH NINE
(Bank Fraud as to JAMEL WILLIAMS)

A. Introduction
1. Paragraph 3 of Count One of this Indictment is re-alleged and

incorporated fully herein by reference.

B. The Scheme and Artifice

2. Beginning on an unknown date, but no later than in or around March
2023, and continuing through at least in or about August 2023, in the Middle District

of Florida, and elsewhere, the defendant,
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JAMEL WILLIAMS,
did, aiding and abetting another, knowingly attempt to execute a scheme and artifice
to obtain moneys, funds, and other property owned by, and under the custody and
control of Navy Federal Credit Union, a federally insured financial institution, by
means of false and fraudulent pretenses, representations, and promises.
C. Manner and Means of the Scheme and Artifice

3. The manner and means by which the defendant sought to accomplish
the scheme to defraud included, among others, the following:

a. It was part of the scheme and artifice to defraud that the
defendant obtained and possessed stolen and fraudulently altered mail matter,
including checks.

b. It was further part of the scheme and artifice to defraud that the
defendant deposited the stolen and fraudulently altered checks at various Navy
Federal Credit Union branches located in the Middle District of Florida, under the
false and fraudulent pretenses that he was an authorized depositor of the checks.

Cc. It was further part of the scheme and artifice to defraud that the
defendant fraudulently caused the transfer of funds from victim bank accounts to
Navy Federal Credit Union bank accounts for purposes of carrying out the scheme to

defraud.
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D. Execution of the Scheme and Artifice

On or about the dates listed below, for the purpose of executing and

attempting to execute the aforementioned scheme to defraud, the defendant made

the following fraudulent deposits into Navy Federal Credit Union accounts:

Count Date of Branch Location Check No. Amount
Deposit

Two May 10, 2023 Winter Park 2207936 $3,325.00
Three May 12, 2023 Winter Park 4531 $3,309.29
Four May 19, 2023 Kissimmee 1745 $3,700.22
Five June 9, 2023 Altamonte Springs 126035 $5,000.89
Six June 9, 2023 Winter Park 1023 $2,000.00
Seven June 27,2023 | Winter Park 403948270508 | $10,020.00
Eight July 6, 2023 Altamonte Springs 2500 $7,900.22
Nine July 27, 2023 Winter Park 2109 $7,774.22

All in violation of 18 U.S.C. §§ 1344 and 2.

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COUNTS TEN THROUGH FOURTEEN
(Bank Fraud as to LEVAR BAKER)

A. Introduction
1. Paragraph 3 of Count One of this Indictment is re-alleged and
incorporated fully herein by reference.
B. The Scheme and Artifice
2. Beginning on an unknown date, but no later than in or around March
2023, and continuing through at least in or about August 2023, in the Middle District
of Florida, and elsewhere, the defendant,
LEVAR BAKER,
did, aiding and abetting another, knowingly attempt to execute a scheme and artifice
to obtain moneys, funds, and other property owned by, and under the custody and
control of Navy Federal Credit Union, a federally insured financial institution, by
means of false and fraudulent pretenses, representations, and promises.
C. Manner and Means of the Scheme and Artifice
3. The manner and means by which the defendant sought to accomplish
the scheme to defraud included, among others, the following:
a. It was part of the scheme and artifice to defraud that the defendant
obtained and possessed stolen and fraudulently altered mail matter, including checks.
b. It was further part of the scheme and artifice to defraud that the

defendant deposited the stolen and fraudulently altered checks at various Navy
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Federal Credit Union branches located in the Middle District of Florida, under the
false and fraudulent pretenses that he was an authorized depositor of the checks.

c. It was further part of the scheme and artifice to defraud that the
defendant fraudulently caused the transfer of funds from victim bank accounts to
Navy Federal Credit Union bank accounts for purposes of carrying out the scheme to

defraud.

D. Execution of the Scheme and Artifice

A. On or about the dates listed below, for the purpose of executing and
attempting to execute the aforementioned scheme to defraud, the defendant made

the following fraudulent deposits into Navy Federal Credit Union accounts:

Count Date Branch Locations Check Amount

Ten May 8, 2023 | Orlando 3259 $2,000.00
Eleven June 27, 2023 | Winter Park 8062 $5,350.74
Twelve July 20, 2023 | Winter Park 1917 $9,100.00
Thirteen July 26, 2023 | Riverview 1598 $9,143.12
Fourteen a 1, Riverview 2139 $9,133.07

All in violation of 18 U.S.C. §§ 1344 and 2.
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COUNT FIFTEEN
(Aggravated Identity Theft as to JAMEL WILLIAMS)

On or about June 9, 2023, in the Middle District of Florida, and elsewhere,
the defendant,

JAMEL WILLIAMS,

did knowingly possess and use, without lawful authority, a means of identification of
another person, specifically, the names and account number of M.M. and A.S.,
during and in relation to a felony violation of bank fraud, in violation of 18 U.S.C. §
1344, as charged in Count Six of this Indictment, knowing that such means of
identification belonged to an actual person.

In violation of 18 U.S.C. § 1028A(a)(1).

COUNT SIXTEEN
(Aggravated Identity Theft as to LEVAR BAKER)

On or about May 8, 2023, in the Middle District of Florida, and elsewhere, the
defendant,

LEVAR BAKER,

did knowingly possess and use, without lawful authority, a means of identification of
another person, specifically, the name and account number of J.Z., during and in
relation to a felony violation of bank fraud, in violation of 18 U.S.C. § 1344, as
charged in Count Ten of this Indictment, knowing that such means of identification
belonged to an actual person.

In violation of 18 U.S.C. § 1028A(a)(1).

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FORFEITURE

1. The allegations contained in Counts One through Fourteen are
incorporated by reference for the purpose of alleging forfeiture pursuant to the
provisions of 18 U.S.C. §§ 981(a)(1)(C), 982(a)(2)(A), and 28 U.S.C. § 2461(c).

2. Upon conviction of a violation of a conspiracy of the violation of 18
U.S.C. § 1708, in violation of 18 U.S.C. § 371, the defendants shall forfeit to the
United States, pursuant to 18 U.S.C. § 981(a)(1)(C), any property constituting, or
derived from, any proceeds the defendants obtained, directly or indirectly, as a result
of such violations.

3. Upon conviction of a violation of a conspiracy of the violation of 18
U.S.C. § 1344, in violation of 18 U.S.C. § 371, the defendants shall forfeit to the
United States, pursuant to 18 U.S.C. § 982(a)(2)(A), any proceeds which the
defendant obtained, directly or indirectly, as the result of such violation.

4. Upon conviction of a violation of 18 U.S.C. § 1344, the defendants shall
forfeit to the United States, pursuant to 18 U.S.C. § 982(a)(2)(A), any property
constituting, or derived from, proceeds obtained, directly or indirectly, as a result of
such violation.

5. The property to be forfeited includes, but is not limited to, the
following: a money judgment in the amount of at least $77,756.55, which sum

represents proceeds obtained from the violations.

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6. If any of the property described above, as a result of any acts or

omissions of the defendants:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;
€; has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

é. has been commingled with other property, which cannot be

divided without difficulty,
the United States shall be entitled to forfeiture of substitute property pursuant to 21

U.S.C. § 853(p), as incorporated by 18 U.S.C. § 982(b)(1) and 28 U.S.C. § 2461(c).

A TRUE BILL,

ROGER B. HANDBERG
United States Attorney

Kara M. Wick
Assistant United States Attorney

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Chauncey A. Bratt
Assistant United States Attorney
Deputy Chief, Orlando Division

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APR 1991 No.

UNITED STATES DISTRICT COURT
Middle District of Florida
Orlando Division

THE UNITED STATES OF AMERICA

VS.

LEVAR BAKER
JAMEL WILLIAMS
INDICTMENT
Violation:
18 U.S.C. § 371

18 U.S.C. § 1344
18 U.S.C. § 1028A(a)(1)

A true bill,

Filedyin open court this 8" day of May, 2024.
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Bail $

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